Case 15-10384-BLS Doc120_ Filed 07/30/19 Page 1 of 13

  

Fill in this information to identify your case:

Debtor 1 Jeff A. Timmerman

 

First Name Middle Name Last Name

Debtor 2 Cassandra L. Timmerman

(Spouse, if filing) First Name Middle Name Last Name

 

United States Bankruptcy Court for the District of Delaware

Case number _15-10384-BLS a Check if this is an
(leiknewn) amended filing

 

Official Form 108
Statement of Intention for Individuals Filing Under Chapter 7 126

 

If you are an individual filing under chapter 7, you must fill out this form if:

H creditors have claims secured by your property, or

m you have leased personal property and the lease has not expired.

You must file this form with the court within 30 days after you file your bankruptcy petition or by the date set for the meeting of creditors,
whichever is earlier, unless the court extends the time for cause. You must also send copies to the creditors and lessors you list on the form.
If two married people are filing together in a joint case, both are equally responsible for supplying correct information.

Both debtors must sign and date the form.

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
write your name and case number (if known).

ee Your Creditors Who Have Secured Claims

1. For any creditors that you listed in Part 1 of Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D), fill in the
information below.

Identify the creditor and the property that is collateral What do you intend to do with the property that Did you claim the property
secures a debt? as exempt on Schedule C?
Creditors Lakeview (J Surrender the property. __No
, (J Retain the property and redeem it. ” Yes

Description of 24972 Prestwick Drive Cl Reiair: the property and enter into-a

 

 

ropert
eae debt: Reaffirmation Agreement.
Retain the property and [explain]:
Pay as Agreed
a Lakeview Loan Servicing LLC [J surrender the property. ~_No
Cl Retain the property and redeem it. ~ Yes

Description of Oo . .
property Retain the property and enter into a

securing debt: Reaffirmation Agreement.
(Cl) Retain the property and [explain]:

 

 

 

Creditors Water Softener (1 surrender the property. v_No

name:
a Water Softener (Retain the property and redeem it. Yes
Description of , .
property (Retain the property and enter into a
securing debt: Rieaffirmation Agreement.

Retain the property and [explain]:
Pay as agreed

Creditors Santander (J Surrender the property. __No

 

name:
Sencietsnar 2014 Chevrolet Cruz (1) Retain the property and redeem it. v Yes
property (J Retain the property and enter into a
securing debt: Reaffirmation Agreement.
Retain the property and [explain]:
Pay as Agreed
Official Form 108 Statement of Intention for Individuals Filing Under Chapter 7 page 1

 
Debtor

Case 15-10384-BLS Doc120 Filed 07/30/19 Page 2 Oke 4 BLS

Jeff A. Timmerman & Cassandra L. Timnferman

Case number (/f known) 1

 

List Your Unexpired Personal Property Leases

For any unexpired personal property lease that you listed in Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G),
fill in the information below. Do not list real estate leases. Unexpired leases are leases that are still in effect; the lease period has not yet
ended. You may assume an unexpired personal property lease if the trustee does not assume it. 11 U.S.C. § 365(p)(2).

Describe your unexpired personal property leases Will the lease be assumed?

Lessor’s name:

Description of leased
property:

Lessor’s name:

Description of leased
property:

Lessor’s name:
Description of leased
property:

Lessor’s name:

Description of leased
property:

No

Yes

No

Yes

No

Yes

 

No

Yes

 

 

Lessor’s name:

Description of leased
property:

Lessor’s name:

Description of leased
property:

Lessor’s name:

Description of leased
property:

 

No

Yes

No

_ Yes

No

Yes

Under penalty of perjury, | declare that | have indicated my intention about any property of my estate that secures a debt and any
personal property that is subject to an unexpired lease.

SX /s/ Jeff A. Timmerman

¥X /s/ Cassandra L. Timmerman

 

Signature of Debtor 1

pate 07/30/2019

MM/ DD / YYYY

Official Form 108

 

Signature of Debtor 2
07/30/2019

‘MM? DD/ YYYY

Date

Statement of Intention for Individuals Filing Under Chapter 7 page 2

 
Fill in this information to identity your case: Check one box oniy as directed in this form and in

Form 122A-1Supp:

 

Debtor 1 Jeff A. Timmerman

 

 

 

 

First Name Middle Name Last Name Q 1. There Is no presumption ahanuse
Debtor 2 Cassandra L. Timmerman : .
(Spouse, if filing) First Name Middle Name Last Name @ 2. The calculation to determine if a presumption of
. . abuse applies will be made under Chapter 7
United States Bankruptcy Court for the: District of Delaware Means Test Calculation (Official Form 122A-2).
Case number 15-10384-BLS (J 3. The Means Test does not apply now because of
(If known) ae military service but it could apply later.

 

 

wl neck if this is an amended filing

Official Form 122A—1
Chapter 7 Statement of Your Current Monthly Income 12/15

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for being accurate. If more
space is needed, attach a separate sheet to this form. Include the line number to which the additional information applies. On the top of any
additional pages, write your name and case number (if known). If you believe that you are exempted from a presumption of abuse because you
do not have primarily consumer debts or because of qualifying military service, complete and file Statement of Exemption from Presumption of
Abuse Under § 707(b)(2) (Official Form 122A-1Supp) with this form.

 

 

RE catcutate Your Current Monthly Income

_ 4. What is your marital and filing status? Check one only.

(J Not married. Fill out Column A, lines 2-11.
@ Married and your spouse is filing with you. Fill out both Columns A and B, lines 2-11.

() Married and your spouse is NOT filing with you. You and your spouse are:
(J Living in the same household and are not legally separated. Fill out both Columns A and B, lines 2-11.

(J Living separately or are legally separated. Fill out Column A, lines 2-11; do not fill out Column B. By checking this box, you declare
under penalty of perjury that you and your spouse are legally separated under nonbankruptcy law that applies or that you and your
spouse are living apart for reasons that do not include evading the Means Test requirements. 11 U.S.C. § 707(b)(7)(B).

i Fill in the average monthly income that you received from all sources, derived during the 6 full months before you file this

| bankruptcy case. 11 U.S.C. § 101(10A). For example, if you are filing on September 15, the 6-month period would be March 1 through
August 31. If the amount of your monthly income varied during the 6 months, add the income for all 6 months and divide the total by 6.
Fill in the result. Do not include any income amount more than once. For example, if both spouses own the same rental property, put the
income from that property in one column only. If you have nothing to report for any line, write $0 in the space.

Column A Column B
Debtor 1 Debtor 2 or
non-filing spouse

2. Your gross wages, salary, tips, bonuses, overtime, and commissions
| (before all payroll deductions). g 11,159.26 ¢.0.00

i 3. Alimony and maintenance payments. Do not include payments from a spouse if
Column B is filled in. ¢.0.00 ¢ 0.00

| 4. All amounts from any source which are regularly paid for household expenses

i of you or your dependents, including child support. Include regular contributions
from an unmarried partner, members of your household, your dependents, parents,
and roommates. Include regular contributions from a spouse only if Column B is not 0.00 0.00
filled in. Do not include payments you listed on line 3. hh $L:

5. Net income from operating a business, profession, Beaters Debtor 2

or farm
Grose recoipte (before all deductions) $0.00 _ $0.00 _
' Ordinary and necessary operating expenses — $0.00 — $0.00
| Net monthly income from a business, profession, or farm $0.00 $0.00 reels g 9.00 g 0.00
| 6. Net income from rental and other real property Debtor 1 Debtor 2
i Gross receipts (before all deductions) $0.00 $0.00.
| Ordinary and necessary operating expenses —$0.00  —-— $0.00
i N : Cop
| et monthly income from rental or other real property $0.00 $¢ 0.00 hea ¢ 0.00 $0.00

 

_7. Interest, dividends, and royalties $ 0.00 $0.00

Official Form 122A-1 Chapter 7 Statement of Your Current Monthly Income

 
Case 15-10384-BLS Doc120 Filed 07/30/19 Page 4 of 13

 

 

Debtor 1 Jeff A. Timmerman Case number iknow) !0-10384-BLS
First Name Middle Name Last Name
Column A Column B
Debtor 1 Debtor 2 or

non-filing spouse

| 8. Unemployment compensation g 0.00 ¢ 0.00

9.

10.

¢0.00 ¢ 0.00
g,0.00 ¢,0.00
Total amounts from separate pages, if any. + 0.00 + 0.00
| 11. Calculate your total current monthly income. Add lines 2 through 10 for each _
column. Then add the total for Column A to the total for Column B. | g11,159.26 + 30.00 =|511,159.26
: : : Total current
monthly income
act 2: EC Whether the Means Test Applies to You
12. Calculate your current monthly income for the year. Follow these steps: ny
12a. Copy your total current monthly income from VIMO 11. cece ccc cccsceceteeetsteesesesssssseseseeeseseneneeeeteessssssssseseeeees Copy line 11 here> $ 11,159.26 |
Multiply by 12 (the number of months in a year). x 12
12b. The result is your annual income for this part of the form. 12b., $ 133,911 le
13. Calculate the median family income that applies to you. Follow these steps:
Fill in the state in which you live. DE
Fill in the number of people in your household. 4
Fill in the median family income for your state and size of HOUSBNGIG., ..ccccnseceoscarssccsesneneensnsdisitvarennnnamannnsii nates eeuemerenareTIReNeNtS 13. $ 99,922.00

 

 

14,

 

Do not enter the amount if you contend that the amount received was a benefit
under the Social Security Act. Instead, list it HEP: essere

 

FOr YOU, .sssssscraeveeecesswivessseaveranesnsoes . $0.00
For your spouse 0.00
Pension or retirement income. Do not include any amount received that was a
benefit under the Social Security Act. ¢ 0.00 ¢ 0.00

 

Income from all other sources not listed above. Specify the source and amount.

Do not include any benefits received under the Social Security Act or payments received
as a victim of a war crime, a crime against humanity, or international or domestic
terrorism. If necessary, list other sources on a separate page and put the total below.

 

 

 

 

 

 

 

 

To find a list of applicable median income amounts, go online using the link specified in the separate
instructions for this form. This list may also be available at the bankruptcy clerk's office.

How do the lines compare?

14a.) Line 12b is less than or equal to line 13. On the top of page 1, check box 1, There is no presumption of abuse.
Go to Part 3.

 

 

 

14b. 4 Line 12b is more than line 13. On the top of page 1, check box 2, The presumption of abuse is determined by Form 122A-2.

Go to Part 3 and fill out Form 122A-2.

;
}

By signing here, | declare under penalty of perjury that the information on this statement and in any attachments is true and correct.

 

X/s/ Jeff A. Timmerman X /s/ Cassandra L. Timmerman
Signature of Debtor 1 Signature of Debtor 2
Date 07/30/2019 Date 07/30/2019
MM/ DD /YYYY MM/ DD 7 YYYY

If you checked line 14a, do NOT fill out or file Form 122A-2.
If you checked line 14b, fill out Form 122A~—2 and file it with this form.

Official Form 122A-1 Chapter 7 Statement of Your Current Monthly Income

 

 
Case 15-10384-BLS Doc120 Filed 07/30/19 Page 5 of 13

Check the appropriate box as directed in

Fill in this information to identify your case:
lines 40 or 42:

 

Debtor 1 Jeff A. Timmerman According to the calculations required by this
First Name Middle Name Last Name Statement:

Debtor 2 Cassandra L. Timmerman

(Spouse, if filing) First Name Middie Name Last Name CJ 1. There is no presumption of abuse.

United States Bankruptcy Court for the: District of Delaware 2. There is a presumption of abuse.

(otate)
Case number 15-1 0384-BLS
“ew I check if this is an amended filing

 

 

 

Official Form 122A—2
Chapter 7 Means Test Calculation 4I19

To fill out this form, you will need your completed copy of Chapter 7 Statement of Your Current Monthly Income (Official Form 122A-1).

 

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for being accurate. If more space
is needed, attach a separate sheet to this form. Include the line number to which the additional information applies. On the top of any additional

pages, write your name and case number (if known).

EERE octermine Your Adjusted Income

 

1. Copy your total current monthly INCOME. ........... eee esse ester tetteeeetetitets Copy line 11 from Official Form 122A-1 here™D 0... 1. ¢ 11,159.26

2. Did you fill out Column B in Part 1 of Form 122A-1?
No. Fill in $0 for the total on line 3.
Q) Yes. Is your spouse filing with you?
LC] No. Go to line 3.
C] Yes. Fill in $0 for the total on line 3.

3. Adjust your current monthly income by subtracting any part of your spouse’s income not used to pay for the
household expenses of you or your dependents. Follow these steps:

On line 11, Column B of Form 122A-1, was any amount of the income you reported for your spouse NOT regularly
used for the household expenses of you or your dependents?

No. Fill in 0 for the total on line 3.
QJ Yes. Fill in the information below:

 

 

 

 

State each purpose for which the income was used Fill in the amount you
For example, the income is used to pay your spouse's tax debt or to support are subtracting from
people other than you or your dependents your spouse’s income
$
$
+$
Total. ..cccccsssesesssscssssssessssessssssssssssssesseseesssssvessseessssususeeceennennieeeeseseees $0.00
Copy total here ............0.+ > -$ 0.00
4. Adjust your current monthly income. Subtract the total on line 3 from line 1. ¢ 11,159.2€

 

 

 

Official Form 122A-2 Chapter 7 Means Test Calculation page 1

 
Case 15- - i
Debtor 1 Jeff A. Timmnennan 5-10384-BLS Doc 120 Filed 07/30/19 Page 6 PbABis

First Name Middle Name Last Name

 

Bee catcurate Your Deductions from Your Income

The Internal Revenue Service (IRS) issues National and Local Standards for certain expense amounts. Use these amounts to
answer the questions in lines 6-15. To find the IRS standards, go online using the link specified in the separate instructions for
this form. This information may also be available at the bankruptcy clerk’s office.

Deduct the expense amounts set out in lines 6-15 regardless of your actual expense. In later parts of the form, you will use some of your
actual expenses if they are higher than the standards. Do not deduct any amounts that you subtracted from your spouse’s income in line 3
and do not deduct any operating expenses that you subtracted from income in lines 5 and 6 of Form 122A-1.

If your expenses differ from month to month, enter the average expense.

Whenever this part of the form refers to you, it means both you and your spouse if Column B of Form 122A-1 is filled in.

5, The number of people used in determining your deductions from income

Fill in the number of people who could be claimed as exemptions on your federal income tax return,
plus the number of any additional dependents whom you support. This number may be different from
the number of people in your household. 2

National Standards You must use the IRS National Standards to answer the questions in lines 6-7.

6. Food, clothing, and other items: Using the number of people you entered in line 5 and the IRS National Standards, fill
in the dollar amount for food, clothing, and other items. $1,288.00

7. Out-of-pocket health care allowance: Using the number of people you entered in line 5 and the IRS National Standards, fill in
the dollar amount for out-of-pocket health care. The number of people is split into two categories—people who are under 65 and
people who are 65 or older—because older people have a higher IRS allowance for health care costs. If your actual expenses are
higher than this IRS amount, you may deduct the additional amount on line 22.

People who are under 65 years of age

7a. Out-of-pocket health care allowance per person

g 09.00
7b. Number of people who are under 65 2
Xf
7c. Subtotal. Multiply line 7a by line 7b. $110.00 Copyhere> $110.00

People who are 65 years of age or older

7d. Out-of-pocket health care allowance per person
g 114.00

 

7e. Number of people who are 65 or older x
7f. Subtotal. Multiply line 7d by line 7e. 0.00
Ply yine fe $ Copy here> + 90.00
7g. Total. Add lines 70 ANd 7f..c.csccccssecsssescssesessssssssessssvsscsesseseauessseessaneseeeeseatsnessaeeseeees g_110.00 | Copy total here>

$110.00

 

 

 

 

 

 

Official Form 122A-2

Chapter 7 Means Test Calculation page 2

 
nebo: Jef A. Timme Bre 15-10384-BLS Doc120 Filed 07/30/19. ,Pagee-4 @84BLS

 

 

First Name Middle Name Last Name

 

 

Local Standards You must use the IRS Local Standards to answer the questions in lines 8-15.

Based on information from the IRS, the U.S. Trustee Program has divided the IRS Local Standard for housing for bankruptcy
purposes into two parts:

® Housing and utilities — Insurance and operating expenses
® Housing and utilities — Mortgage or rent expenses

To answer the questions in lines 8-9, use the U.S. Trustee Program chart.

To find the chart, go online using the link specified in the separate instructions for this form.
This chart may also be available at the bankruptcy clerk's office.

8. Housing and utilities — Insurance and operating expenses: Using the number of people you entered in line 5, fill in the

dollar amount listed for your county for insurance and operating expenses. ¢ 607.00

9. Housing and utilities - Mortgage or rent expenses:
ga. Using the number of people you entered in line 5, fill in the dollar amount listed 1.270.00
for your county for mortgage or rent expenses. 9a. a ot

9b. Total average monthly payment for all mortgages and other debts secured by your home.

To calculate the total average monthly payment, add all amounts that are
contractually due to each secured creditor in the 60 months after you file for
bankruptcy. Then divide by 60.

 

 

 

 

 

 

 

 

 

 

 

 

Name of the creditor Average monthly
payment
Lakeview ¢. 1,071.00
$
+ $0.00
Repeat this
Total average monthly payment $1,071.00 ae — 31,071.00 amount on
ere line 33a.
9c. Net mortgage or rent expense.
Subtract line 9b (total average monthly payment) from line 9a (mortgage or
rent expense). If this amount is less than $0, enter $0. 9c. $199.00 Copy $ 199.00
here>
10. If you claim that the U.S. Trustee Program’s division of the IRS Local Standard for housing is incorrect and affects $ 0.00
the calculation of your monthly expenses, fill in any additional amount you claim.
Explain
why:

 

11. Local transportation expenses: Check the number of vehicles for which you claim an ownership or operating expense.

QO) 0. Goto line 14.
1. Go to line 12.
O) 2or more. Go to line 12.

12. Vehicle operation expense: Using the IRS Local Standards and the number of vehicles for which you claim the
operating expenses, fill in the Operating Costs that apply for your Census region or metropolitan statistical area. $ 210.00

 

 

Official Form 122A-2 Chapter 7 Means Test Calculation page 3

 
Jeff A. Timmerman

First Name Middle Name

Debtor 1

Last Name

wi

Case 15-10384-BLS Doc120 Filed 07/30/19 (2088 B84BLs

se num

 

 

 

13. Vehicle ownership or lease expense: Using the IRS Local Standards, calculate the net ownership or lease expense for

each vehicle below. You may not claim the expense if you
addition, you may not claim the expense for more than two vehicles.

Vehicle 1 Describe Vehicle1: _2014 Chevrolet Cruz

do not make any loan or lease payments on the vehicle. In

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

more than the IRS Local Standard for Public Transportation.

 

 

 

 

13a. Ownership or leasing costs using IRS Local Standard 13a. ¢ 508.00
| 13b. Average monthly payment for all debts secured by Vehicle 1.
Do not include costs for leased vehicles.
To calculate the average monthly payment here and on line 13e, add all
amounts that are contractually due to each secured creditor in the 60 months
after you filed for bankruptcy. Then divide by 60.
Name of each creditor for Vehicle 1 Average monthly
payment
| Santander ¢ 342.00
| + 5 0.00
i Cc Repeat this
| Total average monthly payment $. 342.00 o> —$ 342.00 amount on
| ere 7 line 33b.
| . ‘ Copy net
i 13c. Net Vehicle 1 ownership or lease expense Vehicle 1
Subtract line 13b from line 1a. If this amount is less than $0, enter $0... $166.00 __ expense 466.00
here..... > Sees
Vehicle 2. _—_— Describe Vehicle 2:
13d. Ownership or leasing costs using IRS Local Standard 13d. $ 508.00
| 143e. Average monthly payment for all debts secured by Vehicle 2.
i Do not include costs for leased vehicles.
Name of each creditor for Vehicle 2 Average monthly
payment
5 0.00
+ 0.00
Cc Repeat this
Total average monthly payment $ 0.00 cae —$ 0.00 amount on
ere line 33c.
13f. Net Vehicle 2 ownership or lease expense ences
Subtract line 13e from 13d. If this amount is less than $0, enter SOQ... eee $ 0.00 expense
i here... > ¢0.00
14. Public transportation expense: If you claimed 0 vehicles in line 11, using the IRS Local Standards, fill in the
Public Transportation expense allowance regardless of whether you use public transportation. $0.00
15. Additional public transportation expense: If you claimed 1 or more vehicles in line 11 and if you claim that you may also
deduct a public transportation expense, you may fill in what you believe is the appropriate expense, but you may not claim 0.00
$eey.

 

Official Form 122A-2 Chapter 7 Means Test Calculation

page 4

 
 

Case 15- - i
nemo: deft A. Timmevae® 5-10384-BLS Doci120 Filed 07/30/16 or wh 2989 Cls4BLS

First Name Middle Name Last Name

Other Necessary Expenses In addition to the expense deductions listed above, you are allowed your monthly expenses for
the following IRS categories.

16. Taxes: The total monthly amount that you will actually owe for federal, state and local taxes, such as income taxes, self-
employment taxes, social security taxes, and Medicare taxes. You may include the monthly amount withheld from your $ 845.54
pay for these taxes. However, if you expect to receive a tax refund, you must divide the expected refund by 12 and OO
subtract that number from the total monthly amount that is withheld to pay for taxes.

Do not include real estate, sales, or use taxes.

17. Involuntary deductions: The total monthly payroll deductions that your job requires, such as retirement contributions,

union dues, and uniform costs.
Do not include amounts that are not required by your job, such as voluntary 401 (k) contributions or payroll savings.

$0.00

18. Life insurance: The total monthly premiums that you pay for your own term life insurance. If two married people are filing
together, include payments that you make for your spouse’s term life insurance. Do not include premiums for life
insurance on your dependents, for a non-filing spouse’s life insurance, or for any form of life insurance other than term. $ 0.00

19. Court-ordered payments: The total monthly amount that you pay as required by the order of a court or administrative
agency, such as spousal or child support payments.

Do not include payments on past due obligations for spousal or child support. You will list these obligations in line 35.

¢.0.00

20. Education: The total monthly amount that you pay for education that is either required:
@ as acondition for your job, or
@ for your physically or mentally challenged dependent child if no public education is available for similar services. $0.00 _

21. Childcare: The total monthly amount that you pay for childcare, such as babysitting, daycare, nursery, and preschool.
Do not include payments for any elementary or secondary school education.

$0.00

22. Additional health care expenses, excluding insurance costs: The monthly amount that you pay for health care that
is required for the health and welfare of you or your dependents and that is not reimbursed by insurance or paid bya
health savings account. Include only the amount that is more than the total entered in line 7.
Payments for health insurance or health savings accounts should be listed only in line 25. $0.00

23. Optional telephones and telephone services: The total monthly amount that you pay for telecommunication services for
you and your dependents, such as pagers, call waiting, caller identification, special long distance, or business cell phone
service, to the extent necessary for your health and welfare or that of your dependents or for the production of income, if it + $0.00
is not reimbursed by your employer. —

Do not include payments for basic home telephone, internet and cell phone service. Do not include self-employment
expenses, such as those reported on line 5 of Official Form 22A-1, or any amount you previously deducted.

24, Add all of the expenses allowed under the IRS expense allowances. $3,425. 54
Add lines 6 through 23. ——

 

 

 

 

 

Official Form 122A-2 Chapter 7 Means Test Calculation page 5

 
pebior1 Jett A. Timmerane 15-10384-BLS Doc120 Filed 07/30/19... Pages1@Ss41BLs

 

 

First Name Middle Name Last Name

Additional Expense Deductions —_ These are additional deductions allowed by the Means Test.

25.

26.

27.

28.

29.

30.

31.

32.

Note: Do not include any expense allowances listed in lines 6-24.

Health insurance, disability insurance, and heaith savings account expenses. The monthly expenses for health
insurance, disability insurance, and health savings accounts that are reasonably necessary for yourself, your spouse, or your
dependents.

 

Health insurance g3/3.49

Disability insurance ¢0.00

Health savings account + ¢0-00

Total $373.49 Copy total Here D oo ccccccccsceseeseeeseeteseseseees

 

 

 

Do you actually spend this total amount?

) No. How much do you actually spend? $

Yes

Continued contributions to the care of household or family members. The actual monthly expenses that you will
continue to pay for the reasonable and necessary care and support of an elderly, chronically ill, or disabled member of your
household or member of your immediate family who is unable to pay for such expenses. These expenses may include
contributions to an account of a qualified ABLE program. 26 U.S.C. § 529A(b).

Protection against family violence. The reasonably necessary monthly expenses that you incur to maintain the safety of
you and your family under the Family Violence Prevention and Services Act or other federal laws that apply.

By law, the court must keep the nature of these expenses confidential.

Additional home energy costs. Your home energy costs are included in your non-mortgage housing and utilities allowance
on line 8.

If you believe that you have home energy costs that are more than the home energy costs included in the non-mortgage
housing and utilities allowance, then fill in the excess amount of home energy costs.

You must give your case trustee documentation of your actual expenses, and you must show that the additional amount
claimed is reasonable and necessary.

Education expenses for dependent children who are younger than 18. The monthly expenses (not more than $170.83*
per child) that you pay for your dependent children who are younger than 18 years old to attend a private or public
elementary or secondary school.

You must give your case trustee documentation of your actual expenses, and you must explain why the amount claimed is
reasonable and necessary and not already accounted for in lines 6-23.

* Subject to adjustment on 4/01/22, and every 3 years after that for cases begun on or after the date of adjustment.

Additional food and clothing expense. The monthly amount by which your actual food and clothing expenses are higher
than the combined food and clothing allowances in the IRS National Standards. That amount cannot be more than 5% of the
food and clothing allowances in the IRS National Standards.

To find a chart showing the maximum additional allowance, go online using the link specified in the separate instructions for
this form. This chart may also be available at the bankruptcy clerk's office.

You must show that the additional amount claimed is reasonable and necessary.

Continuing charitable contributions. The amount that you will continue to contribute in the form of cash or financial
instruments to a religious or charitable organization. 26 U.S.C. § 170(c)(1)-(2).

Add all of the additional expense deductions.
Add lines 25 through 31.

 

Official Form 122A-2

$373.49

50.00

30.00

50.00

50.00

50.00

g0.00

 

 

$373.49

 

 

Chapter 7 Means Test Calculation

page 6

 

 
:
;

jebior: vet A. Timmegose 15-10384-BLS Doc120 Filed 07/30/19 Pagaslioeb4BLs

First Name Middle Name Last Name

 

Deductions for Debt Payment

33. For debts that are secured by an interest in property that you own, including home mortgages, vehicle
loans, and other secured debt, fill in lines 33a through 33g.

To calculate the total average monthly payment, add all amounts that are contractually due to each secured
creditor in the 60 months after you file for bankruptcy. Then divide by 60.

Average monthly

Mortgages on your home: payment
88a. Copy lime Ob Nee ...sessssesccssssssssssssssscssseesssnnsnnssessssessecessssssnnnnssensseceessssssssnesssanseennnen > ¢ 1,071.00
Loans on your first two vehicles:

BBb, Copy line 13b Here. ...ssscccssssssssesssseececcsesnnnnneteseencecenssnnssnnanssereneecssssssunanssssenseeente => $ 342.00
330. Copy line 13@ Here. ..sssesssssssssssssseccssssnneesensnnneeessesssssnssseccennnnsceescssunssssceanananssseett > ¢ 0.00
33d. List other secured debts:

Does payment
ve bi an creditor for other pelea A aeshch that include taxes or

insurance?

v
Water Softener Water Softener No $ 60.00

 

 

L) Yes

L] no ¢ 0.00

[Jno + $0.00

 

 

 

 

33e. Total average monthly payment. Add lines 33a through OS. .cciscescensnennnasvianinennaNereT EN $ 1,473.00 > ' $1,473.00

34. Are any debts that you listed in line 33 secured by your primary residence, a vehicle,
or other property necessary for your support or the support of your dependents?

[V] No. Go to line 35.

() Yes. State any amount that you must pay to a creditor, in addition to the payments
listed in line 33, to keep possession of your property (called the cure amount).
Next, divide by 60 and fill in the information below.

 

 

 

Name of the creditor Identify property that secures Total cure Monthly cure
the debt amount amount
$ +60 = $
$ +60= $
¢.0.00 +60= +9$0.00
i "| Copy total
| 0.0
Total $ O hore $0.00
35. Do you owe any priority claims such as a priority tax, child support, or alimony —
that are past due as of the filing date of your bankruptcy case? 11 U.S.C. § 507.
[V] No. Go to line 36.
() Yes. Fill in the total amount of all of these priority claims. Do not include current or
ongoing priority claims, such as those you listed in line 19.
Total amount of all past-due priority ClaiIMS .......c cst teeeteee ete eetseteeeeeeneeeeteneenenens ¢ 0.00

 

 

 

+60 = $0.00

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Debtor 1 Jeff A. Timmerman Case number (if know!

 

First Name Middle Name Last Name

36. Are you eligible to file a case under Chapter 13? 11 U.S.C. § 109(e).
For more information, go online using the link for Bankruptcy Basics specified in the separate
instructions for this form. Bankruptcy Basics may also be available at the bankruptcy clerk’s office.
No. Go to line 37.

[V]ves. Fill in the following information.

 

 

 

 

 

 

 

Projected monthly plan payment if you were filing under Chapter 13 g 0.00
Current multiplier for your district as stated on the list issued by the
Administrative Office of the United States Courts (for districts in Alabama and
North Carolina) or by the Executive Office for United States Trustees (for all
other districts). x 1.0%
To find a list of district multipliers that includes your district, go online using the
link specified in the separate instructions for this form. This list may also be
available at the bankruptcy clerk's office. _.
Average monthly administrative expense if you were filing under Chapter 13 $ 0.00 90.00
37. Add all of the deductions for debt payment. $1,473.00
Add lines 33e through 36.
Total Deductions from Income
38. Add all of the allowed deductions.
Copy line 24, All of the expenses allowed under IRS ¢ 3,425. 54
EXPENSE AIOWANCES ......cccereereres ieee eesseeseenenteneneetenentaes atest
Copy line 32, All of the additional expense deductions......... $ 373.49
Copy line 37, All of the deductions for debt payment............ +$ 1,473.00
Total deductions $5,272.03 - Copy total here > $5,272.03
rant 2: Whether There Is a Presumption of Abuse
39. Calculate monthly disposable income for 60 months
39a. Copy line 4, adjusted current monthly income..... $ 11,159.26
39b. Copy line 38, Total deductions.......... - $ 5,272.03
39c. Monthly disposable income. 11 U.S.C. § 707(b)(2). | ¢ 5,887.23 _ Copy line ¢ 5,887.23
Subtract line 39b from line 39a. ———— | 39c here>
For the next 60 Months (5 YOarS)....cesescssseesseeseeteseeneseeeeeetssssessseessssesensaeneennnnencaseeseseseesesaseess x 60
39d, Total, Multiply line 39¢ by 60. ....csssssssssssssssssssssssenenssssssssssunsnnenennenseeeeeeeeceenenessssssassnnsnnsnen 39d. $353,234.00 $353,234.00

40. Find out whether there Is a presumption of abuse, Check the box that applies:

OC The line 39d is less than $8,175*. On the top of page 1 of this form, check box 1, There is no presumption of abuse. Go to

Part 5.

[V] the line 39d is more than $13,650*. On the top of page 1 of this form, check box 2, There is a presumption of abuse. You

i may fill out Part 4 if you claim special circumstances. Then go to Part 5.

i CJ The line 39d is at least $8,175*, but not more than $13,650*. Go to line 41.

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* Subject to adjustment on 4/01/22, and every 3 years after that for cases filed on or after the date of adjustment.

 

 

 

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nebor Om A. Timmai@st 15-10384-BLS Doc120 Filed 07/30/19 Pages. 30@b4 BLS

ase number (if know!
First Name Middle Name Last Name

 

41. 41a. Fill in the amount of your total nonpriority unsecured debt. If you filled out A
Summary of Your Assets and Liabilities and Certain Statistical Information

 

Schedules (Official Form 106Sum), you may refer to line 3b on that form. 41a. $
Xx .25
41b. 25% of your total nonpriority unsecured debt. 11 U.S.C. § 707(b)(2)(A)(i)(I) $
Multiply line 41a by 0.25. Copy |&
here>

 

 

 

42. Determine whether the income you have left over after subtracting all allowed deductions
is enough to pay 25% of your unsecured, nonpriority debt.
Check the box that applies:

CI Line 39d is less than line 41b. On the top of page 1 of this form, check box 1, There is no presumption of abuse.
Go to Part 5.

C] Line 39d is equal to or more than line 41b. On the top of page 1 of this form, check box 2, There is a presumption
of abuse. You may fill out Part 4 if you claim special circumstances. Then go to Part 5.

J part a: | Give Details About Special Circumstances

43.Do you have any special circumstances that justify additional expenses or adjustments of current monthly income for which there is no
reasonable alternative? 11 U.S.C. § 707(b)(2)(B).

UL) No. Goto Part 5.

[]ves. Fill in the following information. All figures should reflect your average monthly expense or income adjustment
for each item. You may include expenses you listed in line 25.

You must give a detailed explanation of the special circumstances that make the expenses or income

adjustments necessary and reasonable. You must also give your case trustee documentation of your actual
expenses or income adjustments.

 

 

 

 

Give a detailed explanation of the special circumstances Bicone aaa iss
Autistic Child care expenses (est.) ¢ 900.00
Student loan repayment g 1,000.00
| $360.0 for Spouse's maintenance therapy $ 360.00
$583.00 monthly ($7,000.00 annually) out of pocket medical costs g 083.00

EEE sion Below

By signing here, | declare under penalty of perjury that the information on this statement and in any attachments is true and correct.

X /s/ Jeff A. Timmerman
Signature of Debtor 1

X /s/ Cassandra L. Timmerman
Signature of Debtor 2

Date 07/30/2019 Date 07/30/2019
MM/DD /YYYY MM/DD /YYYY

 

 

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